Case 18-20971-CMB      Doc 227    Filed 12/18/20 Entered 12/18/20 09:41:35   Desc Main
                                 Document     Page 1 of 1



                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE:                                    ) Case No. 18-20971-CMB
 Linda C. Parker,                          )
             Debtor,                       ) Chapter 11
 Linda C. Parker,                          )
        Movant,                            ) Hearing Date: 03/05/20 @ 1:30 p.m.
       vs.                                 ) Response Due: 02/24/20
 No Respondent.                            ) Document No.      186



                                   ORDER OF COURT
                              17TH
       AND NOW, to-wit, this ___        December
                                 day of ______________, 2020, on motion of the

 Debtor and finding that the provisions of 11 U.S.C. §1101(2) have been met, a Final

 Decree is hereby entered in the above-captioned case in accordance with Bankruptcy

 Rule 3022.

                                               By the Court,



                                               ___________________________
     FILED
                                               Carlota M. Böhm, Chief Judge
     12/17/20 4:37 pm
                                               United States Bankruptcy Court
     CLERK
     U.S. BANKRUPTCY
     COURT - :'3$
